     Case 2:22-cv-02248-KHV-GEB Document 11 Filed 07/08/22 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS

Murray Dines, d/b/a Terpene
Distribution,

                      Plaintiff,
                                                 Case No. 2:22-CV-02248-
v.                                               KHV-GEB

Laura Kelly, in her official capacity as
Governor of the State of Kansas, and
Derek Schmidt, in his official capacity
as Attorney General of the State of
Kansas,

                      Defendants.


                          Motion to Dismiss or Stay

      Pursuant to Fed. R. Civ. P. 12(b)(6) and the Pullman abstention

doctrine, the defendants move the Court for an order dismissing Plaintiff’s

lawsuit for failure to state a claim or, in the alternative, staying proceedings

in this action.

      The Memorandum in Support of Motion to Dismiss or Stay, filed

contemporaneously with motion, is incorporated here.




                                        1
     Case 2:22-cv-02248-KHV-GEB Document 11 Filed 07/08/22 Page 2 of 2




                                    Respectfully submitted,

                                    OFFICE OF ATTORNEY GENERAL
                                    DEREK SCHMIDT
                                    s/ Arthur S. Chalmers
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                        CERTIFICATE OF SERVICE

      I certify that on July 8, 2022, a copy of the foregoing Motion to

Dismiss or Stay was filed and served via the Court’s electronic filing system

on all counsel of record.

                                    s/ Arthur S. Chalmers




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